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SOHEIR GIRGIS

                            UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                 ) No. 10-cr -0259-JAM
                                           )
          Plaintiff,                       ) ORDER RETURNING PASSPORT
                                           )
                       v.                  )
                                           )
 SOHEIR GIRGIS,                            )
                                           )
           Defendants.                     )
                                           )
                                           )


The Information charging the defendant having been dismissed on July 24, 2012, IT IS

HEREBY ORDERED that the defendant’s passport is released. Counsel shall contact

the Clerk of the Court for the return the defendant’s passport.

DATED: July 31, 2012.
